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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                      2:17-cr-54-7

Jamicia R. Gordon

                                     ORDER
     There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Doc. 200) that the
defendant’s guilty pleas be accepted.               The court accepts the
defendant’s pleas of guilty to Counts 1 and 11 of the superseding
indictment, and she is hereby adjudged guilty on those counts. The
court will defer the decision of whether to accept the plea
agreement until the sentencing hearing.


Date: April 6, 2018                     s\James L. Graham
                                  James L. Graham
                                  United States District Judge
